               Case:18-03270-jwb        Doc #:43 Filed: 12/01/2020          Page 1 of 1


                           U N I T E D S TAT E S B A N K R U P T C Y C O U R T
                         FOR THE WESTERN DISTRICT OF MICHIGAN


      In re:
                                                                 Chapter 13
                                                                 Case No. 18-03270-swd
       Gerry Lee O'Neil, Jr.,
                                                                 Honorable Scott W. Dales

                                                                 Filed: July 29, 2018
                            Debtors.                             Confirmed: December 9, 2020



               ORDER GRANTING DFRTOR’S MOTION TO AMEND CHAPTER 13 PLAN

       The Debtor having filed the Second Chapter 13 Post-Confirmation Plan Amendment

and either no objections have been filed or all objections have been withdrawn or resolved, or

ahearing having been held herein, and it appearing to the Court that good cause exists for

the relief requested by the Debtor, and the Court being otherwise advised, NOW

THEREFORE,

        IT IS HEREBY ORDERED that:

       a .        The Debtor shall devote to the Chapter 13 Plan his bonuses from

                  employment, as well as any income tax refunds received, until the Trustee

                  determines that feasibility of the Chapter 13 Plan has been restored and can

                  be maintained with regular monthly payments.

        b.        In all other respects, the confirmed Chapter 13 Plan shall remain unchanged.

                                         END OF ORDER


Prepared by:
Kimberly L. Savage (P68267)
Attorney for the Debtor
Savage Legal Group, PC
1483 Haslett Road
Haslett, Michigan 48840
(517) 515-5000




IT IS SO ORDERED.

Dated December 1, 2020
